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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


    In re                                                              Chapter 11

    JAMBYS, INC., ET AL.,                                              Case No. 24-10913 (KBO)

                                 Debtors. 1                            Jointly Administered



    JAMBYS, INC.,                                                      Chapter 11

                                Plaintiff,                             Adv. Pro. No. 24-50065 (KBO)

    v.

    VELOCITY CAPITAL GROUP LLC, UNITED
    FIRST, LLC, GLOBAL FUNDING EXPERTS,
    LLC, GFE NY LLC, MCA SERVICING
    COMPANY, CLOUDFUND LLC, DELTA
    BRIDGE FUNDING, LLC, MAX RECOVERY
    GROUP LLC, SIMMONS CAPITAL
    PARTNERS, NEWCO CAPITAL GROUP VI
    LLC a/k/a NEWCO CAPITAL GROUPS VI,
    SELLERSFUNDING CORP. d/b/a SELLERSFI,
    ASSDJS LLC, ASSDJS 2 LLC, JAY
    AVIGDOR, BORIS MUSHEYEV,
    VIACHESLAV ELIYAYEV, BARTOSZ
    MACZUGA, VADIM SEREBRO, and MATT
    SIMMONS,

                                Defendants.


                      NOTICE AND STIPULATION OF DISMISSAL OF
               DEFENDANTS VELOCITY CAPITAL GROUP LLC, JAY AVIGDOR,
             UNITED FIRST LLC, GLOBAL FUNDING EXPERTS LLC, GFE NY LLC,
             BORIS MUSHEYEV, AND VIACHESLAV ELIYAYEV WITH PREJUDICE



1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number are
         as follows: Jambys, Inc. (4264) and Jambys NYC, Inc. (5373). The Debtors’ mailing address is 228 Park Avenue
         South, PMB 49630, New York, NY 10003.
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        PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), as

incorporated by Fed. R. Bankr. P. 7041; upon joint stipulation by plaintiff Jambys, Inc. (“Jambys”)

and defendants Velocity Capital Group LLC (“Velocity”), Jay Avigdor (“Avigdor,”), United First

LLC (“United First”), Global Funding Experts LLC (“GFE”), GFE NY LLC (“GFE NY”), Boris

Musheyev (“Musheyev”), and Viacheslev Eliyayev (“Eliyayev,” and collectively with Velocity,

Avigdor, United First, GFE, GFE NY, and Musheyev, the “MCA Defendants”); and pursuant to

the Order (I) Approving the Settlement Agreement By and Among the Debtors, the Velocity

Defendants, and the United First Defendants; and (II) Granting Related Relief [Adv. D.I. 52] and

the Settlement Agreement between Jambys and the MCA Defendants annexed as Exhibit “1”

thereto; Jambys hereby dismisses the above MCA Defendants from the above-captioned adversary

proceeding with prejudice. 2




2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the P.I. Order
[Adv. D.I. 24] and in the First Amended Verified Complaint for Injunctive Relief [Adv. D.I. 26] (the “Amended
Complaint”).
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Dated:   November 13, 2024
         Wilmington, Delaware

PASHMAN STEIN WALDER                              A.M. SACCULLO LEGAL, LLC
HAYDEN, P.C.
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/s/ Joseph C. Barsalona II                        Mary Augustine (DE No. 4477)
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-and-                                             -and-

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Counsel to the Plaintiff, Jambys, Inc.            Avigdor, United First, LLC, Global Funding
                                                  Experts, LLC, GFE NY, LLC, Boris Musheyev, and
                                                  Viacheslav Eliyayev
